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8    Attorneys for Defendant
     LIN’S WAHA INTERNATIONAL CORP.
9
                        UNITED STATES DISTRICT COURT
10
                      CENTRAL DISTRICT OF CALIFORNIA
11

12
     OCM GROUP USA INC.,                    Case No. 2:19-cv-08917 SB (KSx)
13
                             Plaintiff,     REQUEST FOR JUDICIAL
14
                                            NOTICE IN SUPPORT OF
15         vs.                              MOTION FOR SUMMARY
                                            JUDGMENT ON PLAINTIFF’S
16
     LIN’S WAHA INTERNATIONAL               COMPLAINT; OR, IN THE
17   CORP, a New York corporation; and      ALTERNATIVE, SUMMARY
     DOES 1-10.                             JUDGMENT ON PLAINTIFF’S
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                                            CLAIM FOR MONETARY
19
                             Defendant.     DAMAGES
20
                                            Hearing:
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22                                          Date: March 5, 2021
                                            Time: 8:30 a.m.
23                                          Ctrm: 6C
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                              REQUEST FOR JUDICIAL NOTICE
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1                           REQUEST FOR JUDICIAL NOTICE
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           Defendant Lin’s Waha International Corp. (“Lin’s Waha”) hereby requests,
3
     pursuant to Federal Rule of Evidence 201, that the Court take judicial notice of the
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     following exhibits:
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           Exhibit A: The United States Department of Agriculture “Animal
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           Product Manual,” located at:
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           https://www.aphis.usda.gov/import_export/plants/manuals/ports/downlo
8
           ads/apm.pdf. This document is 720 pages long so only the relevant
9
           pages are being attached herein.
10
           Exhibit B: The United States Department of Agriculture – APHIS –
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           “List of Low Risk & Exempted Animal Origin Ingredients & Products,”
12
           located at:
13
           https://www.aphis.usda.gov/animal_health/downloads/import/list-of-low-
14
           risk-and-exempted-animal-origin-ingredients-and-products.pdf.
15
           Under Federal Rule of Evidence 201(b)(2), “[a] judicially noticed fact must
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     be one not subject to reasonable dispute in that it is . . . capable of accurate and
17
     ready determination by resort to sources whose accuracy cannot reasonably be
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     questioned.” See Fed. R. Evid. 201(b)(2). This includes documents maintained by
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     United States governmental agencies. See U.S. ex rel. Modglin v. DJO Global Inc.,
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     48 F. Supp. 3d 1362, 1381-82 (C.D. Cal. 2014) (“Under [FRE] 201, the court can
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     take judicial notice of [p]ublic records and government documents available from
22
     reliable sources on the Internet, such as websites run by governmental agencies.”
23
     (internal quotation marks omitted); Peruta v. Cnty. of San Diego, 678 F. Supp. 2d
24
     1046, 1054 n.8 (S.D. Cal. 2010) (“The Court can properly take judicial notice of the
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     documents appearing on a governmental website ....”).
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           Here, Lin’s Waha’s Request is appropriate, as it asks the Court to take
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     judicial notice of multiple documents downloaded from the United States
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                                  REQUEST FOR JUDICIAL NOTICE
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1    Department of Agriculture website that relate to the requirements – if any – for the
2    importation of finished products that contain “dry milk powder.” The issue of
3    whether the Products at Issue were improperly imported by Lin’s Waha into the
4    United States was raised by Plaintiff OCM Group USA (“OCM”) in its Opposition
5    brief, and thus submission of this evidence rebutting OCM’s position is warranted
6    and appropriate. See Chloe SAS v. Sawabeh Info. Servs. Co., 2015 WL 12734005,
7    at *1 (C.D. Cal. June 3, 2015) (stating that “[e]vidence submitted in direct response
8    to evidence raised in opposition ... is not ‘new’ ” (citing In re ConAgra Foods, Inc.,
9    302 F.R.D. 537, 559 (C.D. Cal. 2014)); Terrell v. Contra Costa Cnty., 232 Fed.
10   App'x 626, 629 n.2 (9th Cir. 2007) (finding evidence in reply brief not “new” when
11   reply brief “addressed the same set of facts supplied in Terrell's opposition to the
12   motion”).
13         As judicial notice of such documents is appropriate under Federal Rule of
14   Evidence 201(b), Lin’s Waha respectfully requests that the Court grant its request
15   and take judicial notice of the foregoing exhibits.
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18    Dated: February 18, 2021                   Respectfully submitted,

19                                               witkow | baskin
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                                                 By: /s/ Brandon J. Witkow
21                                               Brandon J. Witkow
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                                                 Attorneys for Defendant
23                                               LIN’S WAHA INTERNATIONAL
24                                               CORP.
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                                 REQUEST FOR JUDICIAL NOTICE
